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The Honorable James L. Robart

 

 

 

 

| UNITED STATES DISTRICT COURT WESTERN DISTRICT OF WASHINGTON AT
SEATTLE

UNITED STATES, No. 2:12-cv-01282-JLR

PLAINTIFF DECLARATION OF GENE

PALMER RE: PARTIAL
DAMAGES IN THIS CASE
REGARDING RAFTIS AND
DURKAN ACTS

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CITY OF SEATTLE,
DEFENDENT

 

COMES NOW, Gene Palmer, Pro Se, being over the age of 18 and competent to testify
| herein, make the following Declaration RE: Partial Damages in this Case Regarding Raftis and
Durkan Act, based on my personal knowledge:

The Events of 8/5/200 7: Officer Raftis Beating

I was brutally beaten by a Seattle Police Department Officer Colleen Raftis (accompanied
by her partner Officer Cynthia Whitaker) on 8/5/07 outside my RV parked at or about 1155 | ith
NW Seattle, Washington. This incident arose out of her questioning me at my RV parked at this

location. I do not know why she made contact with me specifically, but my RV had been
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reported to the police as stolen from my residence on the Tulalip Indian reservation in

|| Marysville. I am part Indian descent.

My RV was Stolen

I was in Seattle that day working on renovations on my house with my wife (mostly
painting) when I found out my RV had been reported stolen and I was given an address for
where it was located. My sister, who works as a 911 operator at the Snohomish County Sheriff
Department, was the person who found out that my RV plates had been reported for an
abandoned vehicle and my RV was now in the system as probably abandoned/stolen. I did not
even know it was missing. My sister contacted my mother, and my mother contacted me asking

if | knew about the whereabouts of my RV. My wife and I went to 1155 11th NW Seattle, -

Washington location and we found my RV. It was in pretty bad shape and was out of gas and go |

I decided to stay with the RV that night and have it towed to a shop in the morning while my |

wife went back home.

Officer Raftis Falsely Acussing me of being a Sex Offender and Subsequent

~ About an hour after I made this decision, I heard a loud banging on the door. I opened the
door and it was Officer Raftis. She stated, “We don’t want your kind around here, you’re:a sex |
offender. We just found out about an hour ago that this RV had been stolen.” I turned around to, |
pull out my paperwork stating I was NOT a sex offender and this was a error that had been |
corrected by the court. That was when Officer Raftis grabbed me by my hair and spun me
around. I began to yell at her to leave me the alone, that I am not a sex offender, and that I did |
not do anything wrong. Officer Raftis said to me “I don’t give a shit about your documents or

what you have to say, I am going by my computer in my patrol car.” I asked her, “What is your fo

 

 
 

 

 

 

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name, can you give this information to the attorney and to the courts.” She grabs her left chest

and starts shaking her name tag. |
Officer Raftis then threw me to the ground, knocking my head against the metal of the

RV and causing my dentures to fall out. She continuously hit me on the head, resulting in two

fractures of my skull and broke my nose. I went to pick up my dentures and Officer Raftis -

clubbed me in the back of my head with her bully club, which caused me to pass out. There was

another officer present, Officer Cynthia Whitaker, who did nothing to prevent this assault.

Running from my RV attempting to get Help

When I regained consciousness, I got up and ran from 1155 11th NW to 15th and Market
and attempted to call 911 from a payphone, but I did not have change to use it and back then
many payphones did not work to even call 911 without coins. I entered the Safeway on Market
street and the store manager saw me in my bloodied state. The store manager helped me call
|911, but SPD refused to send an ambulance. She and some other employees went back to 11th.
NW, where my RV was, but the police had already left, if they ever came. I got ahold of my wife!

using the phone from inside of the store and she came to the store. We had my RV towed from

1155 11th NW to the closest Les Schwab.

Hearing with Judge Gregory, Cardiac Arrest, and Harborview Treatment as a

Result of Beating

The day after the beating, my wife took me to a court hearing I had scheduled that next
morning for an unrelated case. The judge presiding over this hearing, Judge Gregory, took one
look at me in my beaten state and said “What in the hell happened to you?” I explained that I wag

brutally beaten by a SPD cop. Three or four minutes after that I went into cardiac arrest. Judge

Gregory called 911 while his wife, the court Clerk, performed CPR on me until the ambulance
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arrived. I was immediately taken to Harborview Medical Center and treated for the massive
trauma I had sustained when Officer Raftis beat me. I was very badly injured and was going in
and out of consciousness. My skull was cracked in two places and cerebral spinal fluid fluid was

leaking out of my ears. I was in such bad shape that the emergency doctor on staff came in and

took photos of me and I am in possession of those photos. The doctors hooked me up to a bunch

of IVs and then put me in a medically induced coma for 23 days.

During this time, they found out that I was suffering from spinal stenosis as a result of
Officer Raftis’ clubbing me in the back of the head with her police bully club. After they —
brought me out of the medically induced coma, I had complete amnesia. I could not even
remember my own name or my family member’s names. I had to undergo a procedure to relieve |
the pressure building up in my skull; my brain was swelling as a result of the trauma I had
sustained. The doctors had to drill into my skull to drain the fluid that had been building up as a |
result of the two fractures I had sustained during the beating. I have scars from the surgery that
are covered by my hair. I also had to have an abdominal hernia surgery to repair a hernia that had
developed around my belly button, which was a result of the number of times Officer Raftis hit
me in the stomach.

While in the hospital, I called my long time friend, Attorney George Knowles, who I had
met up in Alaska and he and my grandmother paid for all of my treatments, homecare, and
psychological treatments, Between Knowles and my Grandmother they paid $1,174,000 in
medical bills as a result of Officer Raftis beating me. There was an outstanding bill for the
abdominal operation done to repair my hernia that was never paid. |

Because I went into cardiac arrest during my hearing, Judge Gregory gave me anew

court day later down the road. I did not show up for that hearing due to hospitalization and Judge

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Gregory ordered the City of Seattle to tow my RV back to my aunt (Margret A. Nelson) and

uncle’s (Robert W. Nelson’s) property (6602 17th Avenue NE) on the Tulalip reservation.
Finding out Officer Colleen Raftis’ Full Name and Filing a Claim against her |

Judge Gregory turned over my case regarding Officer Raftis to the King County
Prosecutor, Norm Maleng, for criminal charges of excessive force, aggrevated assault, attempted
murder in the second degree and hate crimes. Officer Raftis also committed destruction of __
property and wire fraud because she destroyed property containing my personal information that
belonged to the US.

I wanted to file my own civil claim against Officer Raftis, but I ran into a problem |
because I did not know her full name. I attempted to find her, but a week after the beating she
transferred from the SPD North precinct to the West precinct. I found her last name, police
badge number, and address of her precinct on a sticker that she placed on my RV on the night of |
the beating, but I did not know her first name. I discovered her first name much later down the
road when I ran into her, in her police car, while taking my lunch break. I approached her car and
asked for her full name which she provided me: Officer Colleen Raftis, Now that I had this :
information I could file a case against her myself. I filed a complaint with SPD Internal Affairs,
who said I would have to wait 180 days for any information regarding my 911 calls on the night
of the beating. While I waited for this information, I contacted both the FBI and Jenny Durkan te
see if they could help me with my case. This went nowhere because I later found out that Jenny
Durkin and Colleen Raftis were girlfriends and that she was putting the big stall on my case.
Before learning that, I made the mistake of giving Jenny Durkan the originals of the 911 tapes I
had from the night Officer Raftis beat me and when I realized when I was getting nowhere with

her, I asked her to return them to me and instead she told me she had had them destroyed. This |
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must have been at Colleen Raftis’ bidding. The tapes no longer exist anywhere, but I have a

transcript.
Conclusion

The Colleen Raftis beating was a very severe assault with very high damages, and of

course, contrary to city, state, and federal law and needs to be rectified by this court.

Jen n’s First F.

ic riment and Never Praduced Compensation
After I attempted to file my own civil claim against Seattle Police Department’s Officer Raftis for
brutally beating me on the night of 8/5/07, I reached out to Jenny Durkan for help. Jenny Durkan was
originally appointed by President Barack Obama as the US District Attorney and served from October 1, |
2009 until September 30, 2014. While in office Jenny Durkan failed to prosecute a single banker on} |
her watch. Jenny Durkan also would not press federal felony charges against Jonathon Crout,

who blew up my RV with explosives.

Jenny Durkan sued the City of Seattle for use of the Seattle Police Department to use excessive pee

force. The judge on the case was the Honorable Judge Robart. Jenny Durkan got about twenty-five
families together at a high school on Beacon Hill one weekend, so we could provide information about
our experiences with excessive force, including our medical bills. Jenny Durkan had us split up into
groups and where we shared our stories and got to know each other. Jenny Durkan promised me
compensation for a claim of excessive force by Seattle Police Officer Raftis and never produced —
compensation. |
Jenny Durkan also would not press felony charges against Jonathon Krout, who blew Up i

my RV with explosives he learned how to make in diver’s school. ATF is still in possession of
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the explosives he used to blow up my RV. Because J enny Durkan refused to bring my case to the
federal level, it was brought in King County Superior Court with only a minor sentence possible.

He was sentenced to three and half years for first degree arson. Had it gone to federal court there

would have been a baseline 10 year minimum sentence.

Jenny Durke

get us Compensation

Jenny Durkan used us and our information for her own personal political gain. We provided her
with copies of everything we had regarding Officer’s Raftis’ beating of me, including the tapes of the 911
calls I made that night. She then put a gag order on us so we could not speak to the media about what had
happened to us, Under Title 18 US Code Subsection 1209.3 a public official is “forbidden by oath by
knowingly usurping the constitution of the United States for religious or political
purposes”. This is exactly what Jenny Durkan did and this is a felony. She used the information
she received from us and the other families for her own political gain and none of us ever saw

anything from this. Not a single dime for what we had been through.

Jenny Durkan’s Second Felony

The second felony Jenny Durkan committed was under 18 US Code Subsection 2071 (a).& (b):

(a)Whoever willfully and unlawfully conceals, removes, mutilates,
obliterates, or destroys, or attempts to do so, or, with intent to do so
takes and carries away any record, proceeding, map, book, paper,
document, or other thing, filed or deposited with any clerk or
officer of any court of the United States, or in any public office, or
with any judicial or public officer of the United States, shall be

fined under this title or imprisoned not more than three years, or
both.

 

 
 

 

 

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(b) Whoever, having the custody of any such record, proceeding,
map, book, decument, paper, or other thing, willfully and
unlawfully conceals, removes, mutilates, obliterates, falsifies, or
destroys the same, shall be fined under this title or imprisoned not
more than three years, or both; and shall forfeit his office and be
disqualified from holding any office under the United States. As
used in this subsection, the term “office” does not include the office

held by any person as a retired officer of the Armed Forces of the
United States.

While Jenny Durkan was still the US District Attorney she helped with federal oversight of |
the Seattle Police Department in the US district court for the Western District of Seattle. In-2014,
when she was terminated as US Attorney, I called Jenny Durkan because I wanted the | |
documents, records, and 911 tapes from the night of the Officer Raftis beating of me. I had given
them to her when we had met at the Beacon Hill high school when she sued the City of Seattle

for excessive force. I had kept the originals of all the documents and records I had from the

beating and gave her copies I had made. But I did not have copies of the 911 tapes because she |

lhad gotten those from the SPD North Precinct, which was the precinct Officer Raftis was
employed at on the night of my assault. I had attempted to get the tapes from Internal Affairs
prior to this, but they said it would take 180 days to get a copy of my tapes from them. I wanted | |
them back so I could pursue my own civil case against Officer Raftis. Because I do not have
these tapes Officer Raftis claimed that she never met me. This is perjury. She then amended her
statement and said she had only encountered me once. She said that I have mental health issues
and because of this her assault became a felony beating.
ion of Public Recor
Jenny Durkan informed me that my documents and the 911 tapes had been destroyed on

her order. This is a public disclosure violation because she destroyed public records. She claims
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she “never used any of my information in the class action suit” against the City of Seattle for
excessive force. I spoke to her assistant and she said that J enny Durkan instructed them to
destroy any records that were “no longer useful”. That is a felony. This destruction of records
disqualifies Jenny Durkan, under 18 US Code 2071 (b) (above), from holding any public office |
in the United States. |
The Seattle Times did an article on September 3, 2014 about the destruction of my
records. On www.clearinghouse.net, (The University of Michigan Law School Civil Legal
Litigation Clearinghouse), under the people search term “Durkan, Jenny” under the case: United .
States v. The City of Seattle, There are 84 pages proving that she was terminated. I was the one
who called the President of the United States and had both Jenny Durkan and Annetta Hayes,
who succeeded her, removed from their positions. President Donald Trump appointed Brian T.

Morran to the position of Attorney General of the Western District after this.

After Jenny Durkan was terminated as US Attorney, she ran for Mayor against Edward B.
Murray. A group of us had sued the State of Washington in federal court because we were
molested as teenagers. My attorney at this time was David Moody. Edward B. Murray molested |
me and a few of my friends when I was a teenager. When I was 17 years old, Murray would take
us across state lines to Portland, Oregon, molest us, and then send us back home on a Greyhound

bus. They put us in a boy’s home which I left when I turned 18. Edward B. Murray should be

behind bars, he should be a registered sex offender and he should be tried federal courts forall [

that he did to us. But Jenny Durkan made a deal with him for her own political gain. She told

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him that if he stepped down as mayor, she would run for mayor and she would have all the
charges from three lawsuits against him dropped. ‘And that is exactly what happened. Murray

stepped down, Jenny Durkan ran for mayor and won, and The City of Seattle settled all the.

lawsuits against Murray. This precluded my own suit against Murray and therefore Jenny Durkan

|[is liable for me for this suit and for her violation of the law for her personal gain. She also
brought no criminal charges against him. It is a federal offense to bring minors across state lines.
He should have been charged with a federal crime and he should be registered as a sex offender.
She failed at this. She did all of this under a conflict of interest: Jenny Durkan is the daughter of
the late Democratic State Senator Martin Durkan, who was the attorney for Christine Gregoire,
who was the Washington State Attorney General representing Washington State in my OK Boys
Ranch molestation suit and was responsible for missing the $24 million judgment appeal
|| deadline and therefore the state taxpayers $24 million plus another $3 million in interest, etc.
over this error. So, Martin Durkan and Christine Gregoire had a huge axe to grind with me as one
of the defendants and Jenny Durkan took this out on me by seeming to be friendly to my various
cases and legal issues and yet instead sabotaged all of them and delayed suit filings in
retaliation.

Later, Jenny Durkan also got special treatment by the Washington State Supreme Court
because they agreed to consider against her to recall her. She got right into the Washington State
Supreme Court within a week while they refused to hear my case regarding the destruction of my

public records by King County and the City of Seattle.

 

 
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J Durkan Refused to Prosecute or Civilly Sue Those Ste my Id.

I brought to Jenny Durkan the problem I was having with people and government
agencies mistaking me for others with a similar name, with sex offenders, etc. and this causing
very significant injuries, loses, and damages to me. She failed to enforce the federal lawsuit
against the State of Washington and the Department of Corrections for their liability in doing the|

same and continuing to have in government databases this mistaken identity for my true identity, |

continuing the numerous problems.

 

Because I sustained such trauma from the SPD Officer Colleen Raftis beating I could not : |
work. I was going to so many doctor’s appointments. I was in a wheelchair and I had to-go to -
therapy. Unfortunately, I was also still paying a mortgage on my house so my inability to work
had a large impact on my finances. I had to file for bankruptcy and I was told that I could not
accumulate any kind of debt. At the time, I did not have any medical insurance so I just stopped |
going to my doctor’s appointments in fear of accumulating debt. The judge presiding over my
bankruptcy case was the honorable J udge Karen A. Overstreet. She was very upset when she
found out I was forgoing necessary doctor’s appointments because I was afraid of accumulating |
debt. She decided to roll over my medical debt into my bankruptcy and make an amendment to
my bankruptcy that put all my debts from my previous 2007 bankruptcy (No. 07-147 13) rolled
into 2008 bankruptcy (Case No. 08-10112). Judge Lasnik, when I was in jail I missed my
WAMU mortgage payments,

Washington State Auditor Troy Kelly was federally convicted in 2017 for fraud,

possession of stolen property and false declarations in federal court. He is someone I met at
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bankruptcy court because he was in bankruptcy court for his construction business goingupside |

down. We were looking for a contractor at the time to work on my house. My grandmother
purchased the house from her daughter who was the former Governor of Washington, Dixy Lee
Ray, my aunt. The title was put in my name and it was in a safety deposit box at Washington
Mutual. We hired Troy Kelly as the contractor, he stole the key to the deposit box, he went, into it
and got the deed, he forged my signature transferring the deed to him. Troy Kelly then failed to
make the house payments during a period when I was illegally in Snohomish County jail.
Washington Mutual foreclosed on the house. The loan was backed by Fanny Mae. The US
Trustee in my 2007 and 2008 bankruptcy cases (numbers above) have collected the ..
documentation regarding all of this and the wrong done to me. The Federal government owes me
my house or the equivalent value because the federal government insured my mortgage and the —
federal government is responsible for my loss (they in turn have to sue the Troy Kellys of the —
world if they want recovery). I took this problem to J enny Durkan to sue WAMU because she
was handling the huge numbers of complaints and suits against WAMU. She failed to complete a
single case against WAMU and failed me. She failed to prosecute a single WAMU banker on her
watch and let down many foreclosed people throughout the nation.

In 2011, a woman went to the Fremont Free Clinic for a Depo Provera injection (birth
control) and received a flu shot instead. She ended up getting pregnant as a result of this and she
sued the clinic. The clinic was a federal government funded entity and the judge awarded $10
million dollars to the woman ($2.5M to the woman and $7.5M to the woman’s daughter, who
was born with disabilities). This upset me because this is very similar to my case but my case

was dismissed due to the statute of limitations, But this woman's case began in 2011 and was not

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ruled on until November 11, 2020. There is no statute of limitation when one violates a
constitutional right or commits a federal criminal offense, which is the case in my case.

Jenny Durkan was terminated as US Attorney on October 1, 2014, with three yeni left on
her term. Annette Hayes then took over her position from October 1, 2014 to January 17, 2019.
US District Attomey Annette Hayes also refused to bring charges against Washington Mutual for
my house, the kid who blew up my RV, and Officer Colleen Raftis for her brutal assault on me.

I certify that the above is true and correct under penalty of the perjury laws of |

Washington State.

DATED this __28th___ day of December, 2020 at Ellensburg, Washington

ene A, : Aly) Ci

Gene A. Palmer i

 

RELATED CASES:

GENE ALFRED PALMER V. KING COUNTY, SEATTLE, SPD, DURKAN, RAFTIS

NO. 219 CV 01777 RSL
GENE PALMER V. TIENNEY MILNOR

NO 19 CV 00961- RAJ

 

 
 

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CERTIFICATE OF MAILING
I certify that on 12/28/20, I also caused true and correct copies of this document and

curtesy copies for Judge Robart on the below indicated date to be served on the following in the -

manner indicated below:

Clerk of the Court

Address:

USS. District Court

Clerk's Office

700 Stewart Street, Suite 2310
Seattle, WA 98101

Courtesy Copy for Judge Robart

Address:

U.S. District Court

Clerk's Office

700 Stewart Street, Suite 2310
Seattle, WA 98101

Brian G Maxey
Attorney for Seattle Police Department
City of Seattle, and Colleen Raftis

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Address:

Seattle City Attorney’s Office
701 Fifth Avenue Ste 2050
Seattle, WA 98104

Sarah K Morehead |
Attomey for US Attorney’s Office

Address:

US Attorney’s Office
700 Stewart St Ste 5220
Seattle, WA 98101

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DATED this 28th day of December, 2020 at Ellensburg, Washington.

/S/_ Gene A. Palmer
Gene A. Palmer II

Pro Se

Bone A PeDmnsae

 

 
 

 

 
